  USCA Case #24-3169      Document #2105402           Filed: 03/12/2025   Page 1 of 3



                   UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


UNITED STATES OF AMERICA,

          Appellee,

    v.                                            No. 24-3169

ZACHARY JORDAN ALAM,

          Appellant.

                      INTERIM TRANSCRIPT STATUS REPORT

    ☐    No transcripts are necessary for this appeal as the
         case was decided on the pleadings.

    ☐    All transcripts necessary for the appeal have been
         completed and received.

                                       *****

    Interim Part I:           The following necessary transcripts have been ordered but
                              not received:

       Date               Type of Proceeding                        Court Reporter
   03/29/21      Status Conference                             Sara Wick
   04/13/21      Arraignment                                   Sara Wick
   05/28/21      Status Conference                             Sara Wick
   06/24/21      Motion Hearing                                Sara Wick
   07/21/21      Status Conference                             Sara Wick
   08/17/21      Status Conference                             Sara Wick
   10/12/21      Status Conference                             Sara Wick
   10/20/21      Status Conference                             Sara Wick
   10/27/21      Status Conference                             Sara Wick
   12/06/21      Arraignment                                   Sara Wick
   12/22/21      Status Conference                             Sara Wick
   02/23/22      Status Conference                             Sara Wick
   03/30/22      Status Conference                             Sara Wick
   06/27/22      Status Conference                             Sara Wick
   08/12/22      Status Conference                             Jan Dickman
   08/18/22      Status Conference                             Jeff Hook
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 09/02/22      Status Conference                          Sara Wick
 10/05/22      Status Conference                          Lisa Bankins
 10/21/22      Status Conference                          Lisa Moreira
 11/09/22      Status Conference                          Lorraine Herman
 12/01/22      Status Conference                          Sara Wick
 01/04/23      Status Conference                          Sara Wick
 01/26/23      Status Conference                          Christine Asif
 06/27/23      Motions Hearing                            Sara Wick
 07/10/23      Motions Hearing                            Sara Wick
 08/11/23      Motions Hearing                            Sara Wick
 08/31/23      Pretrial Conference                        Sara Wick
 09/01/23      Pretrial Conference                        Sara Wick
 09/05/23      Voir Dire                                  Sara Wick & Tim Miller
 09/06/23      Jury Selection                             Sara Wick & Tim Miller
 09/07/23      Jury Trial                                 Sara Wick & Tim Miller
 09/08/23      Jury Trial                                 Sara Wick & Tim Miller
 09/11/23      Jury Trial                                 Sara Wick & Tim Miller
 09/12/23      Jury Deliberation                          Sara Wick
 05/06/24      Sentencing                                 Sara Wick
 05/15/24      Status Conference                          Sara Wick
 10/16/24      Status Conference                          Sara Wick
 11/07/24      Sentencing                                 Sara Wick


  Interim Part II:         The following necessary transcripts have been completed
                           and received:


  Interim Part III:       State below any additional comments regarding
                          preparation of the transcripts or the record on appeal
                          which may delay the briefing of this case:
  ________________________________________________________________
  ________________________________________________________________
  ________________________________________________________________

                                        Respectfully submitted,

                                        A. J. KRAMER
                                        FEDERAL PUBLIC DEFENDER

                                              /s/
                                        _________________________________
                                        TONY AXAM, JR.
                                        Assistant Federal Public Defender
                                       2
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                                              625 Indiana Avenue, N.W., Suite 550
                                              Washington, D.C. 20004
                                              (202) 208-7500


                             CERTIFICATE OF SERVICE

      I hereby certify that I filed the foregoing Initial Transcript Status Report with the
Clerk of the Court for the United States Court of Appeals for the D.C. Circuit by using the
appellate CM/ECF system on March 12 2025.

       Chrisellen R. Kolb, Chief – Appellate Section, Criminal Division, U.S. Attorney’s
Office for the District of Columbia, counsel for appellee, Chrisellen.R.Kolb@usdoj.gov, who
is a registered CM/ECF user, will be served by the appellate CM/ECF system.

       I further certify that some of the participants in the case are not registered CM/ECF
users. I have served the foregoing document by using the U.S. District Court For The
District Of Columbia online Request A Transcript site to order transcripts from Sara
Wick, Jan Dickman, Jeff Hook, Lisa Bankins, Lisa Moreira, Lorraine Herman, Christine
Asif, and Tim Miller, Official Court Reporters.

                                                    /s/
                                              _____________________
                                              TONY AXAM, JR.




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